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                                                     U.S. Department of Justice

                                                     Channing D. Phillips
                                                     Acting United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                   June 7, 2021

VIA USAFX and Email
Celia Goetzl, Esq.
Celia_Goetzl@fd.org

Ubong Akpan, Esq.
Ubong_Akpan@fd.org


       Re:      United States v. Vital GossJankowski, 21-CR-123 (PLF)


Dear Counsel:

       Pursuant to our discovery obligations, we are writing to document previous discovery
provided as well as discovery that the government is providing with this letter:

   •   On May 12, 2021, the government provided the following items:
          o Electronic images of the following devices that were seized from your client
            pursuant to a search warrant:
                ▪ Android phone
                ▪ iPad
                ▪ MacBook Air Laptop
                ▪ Lenovo Laptop




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•   With this letter, the government is also provided the following files via USAfx:
       o Items related to the individual who recorded the GoPro Video (6 files)




       o   Two videos related to an interview of your client’s roommate




       o One video file entitled “UNVELIEVABLE Footage”



       o Seventeen photos from the execution of the search warrant




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           o The following files are designated HIGHLY SENSITIVE under the Protective
             Order entered in this case:
                ▪ 3 files of surveillance footage




           o The following files are designated SENSITIVE under the Protective Order
             entered in this case:
                 ▪ Four files related to Officer M.M.




                  ▪   Six files related to Serial 44 (only the PDF files are sensitive; the photos
                      are not sensitive)




(As with all files uploaded to USAfX, they may automatically delete after 60 days per the
automatic retention policy in place. Please download the files before then.)

        Note that all these files will be being formally processed for discovery by the discovery
team assigned to the Capitol Riots cases. As such, the same files will be re-produced with bates-
stamps at a later date. Nevertheless, we wanted to provide you what we can now as we wait for
this processing to be finalized.

Upcoming Discovery

        The government will continue to provide additional discovery on a rolling basis. Like the
files being provided in connection with this letter, all the files will be re-disclosed once
processed and bates-stamped by the discovery team.


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        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let us know if there are any
categories of information that you believe are particularly relevant to your client.

       Please contact us if you have any issues accessing the information, and to confer
regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       We recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. We will provide timely disclosure if any such material
comes to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, we will provide information
about government witnesses prior to trial and in compliance with the court’s trial management
order.

        We request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. We also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975).
We request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, we
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        We will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact us.

                                       /s/ Cara Gardner
                                       Cara Gardner
                                       Assistant United States Attorney
                                       D.C. Bar 1003793
                                       U.S. Attorney’s Office
                                       555 4th Street, N.W.
                                       Washington, D.C. 20530
                                       202-252-7009
                                       Cara.Gardner@usdoj.gov

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                       /s/ Michael J. Romano
                       Michael J. Romano
                       Trial Attorney / Detailee
                       IL Bar 6293658
                       U.S. Attorney’s Office
                       555 4th Street, N.W.
                       Washington, D.C. 20530
                       202-262-7850
                       michael.romano@usdoj.gov




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